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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY



     THE HOMESOURCE, CORP.,                Civil Action No.: 1:18-cv-11970

                       Plaintiff,          Hon. Eduardo C. Robreno

           v.

     RETAILER WEB SERVICES, LLC,
     et al.,

                       Defendants.


      BRIEF IN SUPPORT OF NATIONWIDE MARKETING GROUP, LLC’S
     MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT1

     Dated: June 15, 2020                   Respectfully submitted,

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 1
  Nationwide joins RWS II’s motion to dismiss and sever the Second Amended
 Complaint, also filed today. Nationwide joins that motion to the extent it applies to the
 causes of action in which it was directly (Counts VIII, IX, and X) or indirectly (Counts I-
 V) named or involved. Because the claims related to the Computer Fraud and Abuse Act
 do not involve Nationwide Marketing Group, LLC, it does not adopt those portions of
 RWS II’s brief.
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                                    INTRODUCTION
        Nationwide Marketing Group, LLC (“Nationwide”) moves to dismiss The
   HomeSource Corp.’s (“HomeSource”) claims against it for lack of personal jurisdiction
   under Fed. R. Civ. P. 12(b)(2) (“Rule”).

        Second, in the alternative, Nationwide moves to dismiss HomeSource’s civil
   conspiracy, contributory liability, and vicarious liability claims under Rule 12(b)(6).
   These claims are deficient for the reasons expressed in Defendant Retailer Web Services

   II, LLC’s Motion to Dismiss and Sever Plaintiff The HomeSource, Corp.’s Second
   Amended Complaint (“RWS’s Motion”), which Nationwide joins and adopts as
   described in footnote one above, as if fully re-written here.2

        Third, HomeSource’s claims against Nationwide are also deficient because
   HomeSource alleges no facts to hold Nationwide vicariously or contributorily liable for
   any underlying tort, nor did it allege all elements needed for a civil conspiracy. These

   pleading deficiencies require dismissal of HomeSource’s claims against Nationwide
   under Rule 12(b)(6).

                                      BACKGROUND
   A.      Jurisdictional Facts.
        The Court’s review of a Rule 12(b)(2) motion is not limited to the face of the
   pleadings; the Court may rely on factual evidence in addition to reviewing
   HomeSource’s allegations. Patterson by Patterson v. F.B.I., 893 F.2d 595, 603-04 (3d Cir.


   2
    See Destefano v. Udren Law Offices, P.C., No. CV167559, 2017 WL 2812886, at *1 (D.N.J.
   June 29, 2017), aff'd, 802 F. App’x 688 (3d Cir. 2020) (observing that defendant joined
   co-defendant’s motion to dismiss, granting both motions, and dismissing complaint).

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   1990). Nationwide will discuss HomeSource’s allegations along with jurisdictional facts
   outside the pleadings below.

          1.    Nationwide’s alleged acts did not occur in or target New Jersey.
       HomeSource alleges that Defendants Retailer Web Services, LLC and Retailer Web

   Services II, LLC (collectively, “RWS”)3 sent an allegedly defamatory newsletter about it
   to HomeSource’s customers and potential customers at undisclosed locations. (Second
   Am. Compl. (“SAC”) [D.E. 164] ¶ 30.) There are no allegations that Nationwide

   emailed the newsletter to anyone, let alone to anyone in New Jersey.
       Instead, HomeSource alleges that RWS, Nationwide, and Gridiron, conspired to
   smear HomeSource by holding strategy meetings and exchanging emails about the

   content of the newsletter, with Nationwide providing “input and approval” before RWS
   sent the newsletter. (Id. ¶¶ 3, 28–33.) Nationwide’s reply emails ostensibly went from
   its office in North Carolina to RWS’s office in Arizona and Gridiron’s office in

   Connecticut. (Id. ¶¶ 7, 9–11.) Finally, HomeSource concludes formulaically, with no
   notice as to the factual support behind the conclusion, that Nationwide exercised
   control over RWS and directed it to carry out the smear campaign. (Id. at 164.)
       HomeSource seeks to litigate against Nationwide in HomeSource’s home state of
   New Jersey on claims for civil conspiracy (Count VIII)4 and contributory and/or
   vicarious liability (Counts IX and X). (Id. ¶¶ 30, 144–146.)

   3
     HomeSource’s SAC addresses both Retailer Web Services entities collectively, even
   though they are separate companies. (D.E. 164 ¶ 12.) Nationwide accepts this allegation
   as true for purposes of this motion only and does not concede that both RWS entities
   published the newsletter.
   4
     HomeSource contends that Nationwide conspired with RWS and Gridiron for the
   torts related to the Newsletter: (1) false and misleading advertising under the Lanham

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          2.     Nationwide has no jurisdictional connection with New Jersey.
      Nationwide is a North Carolina limited liability company, where its principal place
   of business is located. (D.E. 164 ¶ 10.) Nationwide’s only corporate location is its
   headquarters in North Carolina. (Mukherjee Decl. (attached as Ex. A) ¶ 4.) Nationwide

   does not maintain corporate offices, own or lease any real property, or maintain any
   bank accounts in New Jersey. (Id. ¶ 5.) Nationwide currently has 123 employees, only
   one of whom covers New Jersey along with his responsibility to cover other east coast

   states, but he is not based in New Jersey. (Id. ¶ 7.) Nationwide is not registered to do
   business in, and does not maintain a registered agent for service of process for, New
   Jersey. (Id. ¶ 8.) Nationwide has no business relationship with HomeSource. (Id. ¶ 9–

   10.)
      Nevertheless, HomeSource sued Nationwide in the District of New Jersey.
   HomeSource’s jurisdictional allegations against Nationwide are conclusory and devoid

   of operative facts:

          Upon information and belief, this court has personal jurisdiction over
          defendant Nationwide because Nationwide is engaged in the systematic
          and continuous conduct of business in the State of New Jersey, and
          Nationwide expressly aimed tortious conduct at HomeSource, a New
          Jersey corporation, such that defendant could reasonably anticipate being
          haled into district court in New Jersey due to its tortious conduct.
   (Id. ¶ 16).
      HomeSource asserts no other jurisdictional facts against Nationwide, but claims that

   it communicated with Nationwide a year earlier about an unrelated potential business


   Act; (2) defamation; (3) tortious interference with prospective economic advantage; (4)
   tortious interference with contract; and (5) common law and federal unfair competition.
   (D.E. 164 ¶ 148.)

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   investment that never materialized. (Id. ¶¶ 22–26.) HomeSource alleges no facts
   regarding the location of this meeting, so insofar as HomeSource intended to suggest

   that this meeting establishes jurisdiction over Nationwide, the SAC is deficient on its
   face. Regardless, these discussions in fact occurred during a business exposition in
   Mashantucket, Connecticut. (Ex. A ¶ 10.)

        HomeSource’s lack of factual support for its jurisdictional allegations against
   Nationwide should not be surprising; Nationwide has no meaningful jurisdictional
   connections to New Jersey. In short, the SAC does not allege any facts to plausibly

   show that Nationwide expressly aimed tortious conduct at New Jersey. Forcing
   Nationwide to litigate in New Jersey, where it is far from home, would be exceedingly
   burdensome, particularly as the relevant Nationwide employees and records would be

   in North Carolina. (Id. ¶ 12.)

   B.      HomeSource’s Substantive Allegations Against Nationwide.5
           1.    Nationwide incorporates by reference the statement of facts set
                 forth in RWS’s Motion.
        HomeSource alleges that RWS published a newsletter containing factual
   inaccuracies about HomeSource, its owners, and its business, giving rise to claims for
   false and misleading advertising under the Lanham Act, 15 U.S.C. § 1125(a) (Count I),
   defamation (Count II), tortious interference (Counts III and IV), and common law and
   federal unfair competition (Count V). These factual allegations are detailed in the

   motion to dismiss filed by RWS. In the interest of efficiency and judicial economy,

   5
     These facts are drawn from HomeSource’s SAC and are construed as true only for
   this Motion to Dismiss. Nationwide reserves all rights to deny or otherwise challenge
   HomeSource’s factual assertions.

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   Nationwide joins in and adopts the statement of facts in RWS’s Motion as if fully
   rewritten here.

          2.    HomeSource’s conspiracy, contributory and vicarious liability
                allegations against Nationwide.
       HomeSource alleges that Nationwide, Gridiron, and RWS are “related companies.”
   D.E. 164 ¶ 3.6 It alleges that Nationwide worked “in concert” to “minimize

   HomeSource’s market share” by conspiring to regain customers lost by RWS to
   HomeSource. Id. ¶¶ 27–28. HomeSource alleges that Nationwide “exchanged email
   communications” and “held strategy meetings” with RWS and Gridiron. Id. ¶¶ 29–30.

   HomeSource alleges these meetings led to two email newsletters, which Nationwide
   “coordinate[d] the wording of” and “signed off” on, and which contained statements
   the HomeSource calls false and misleading. Id. ¶¶ 30, 144.7 HomeSource states that the

   newsletters “misrepresent the nature, characteristics, and qualities of HomeSource’s
   goods and services” and that Nationwide knew that they contained “false and
   misleading representations.” (Id. ¶¶ 154–56.) HomeSource does not allege which
   statements Nationwide knew were false. HomeSource also recites formulaically that
   Nationwide “exercised control over RWS,” “directed” it to send the newsletters, and


   6
    HomeSource fails to plead that Nationwide and RWS are sister companies and wholly
   owned subsidiaries of the same parent, Local Retail Solutions, LLC. Gridiron owns a
   majority interest in Local Retail Solutions. RWS has identified this relationship to
   HomeSource and the Court previously. (D.E. 134 ¶¶ 10–11; D.E. 186.)
   7
    HomeSource also suggests that RWS placed phone calls to HomeSource’s customers
   [D.E. 164 ¶ 88], but provided no supporting facts regarding who received these alleged
   calls or the contents of the communications. HomeSource’s counts against Nationwide
   make no reference to these supposed calls, thus, it does not appear that HomeSource
   believes Nationwide was responsible for them.

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   “[d]ue to the ownership interests within their corporate family, Nationwide … had the
   actual or apparent authority to control RWS….” (Id. ¶¶ 164–65.)

      HomeSource claims that Nationwide is liable for (1) civil conspiracy (Count VIII),
   contributory liability for false advertising under the Lanham Act, 15 U.S.C. § 1125(a)
   (Count IX), and vicarious liability for defamation, tortious interference, and common

   law and federal unfair competition (Count X) because of its alleged knowledge of and
   signing off on RWS’s newsletters. (See id.)

                                  LAW AND ARGUMENT
          HomeSource’s claims against Nationwide should be dismissed for lack
          of personal jurisdiction.
          A.     Legal standard.
      A defendant may assert that the court lacks personal jurisdiction over it. Rule
   12(b)(2). Thereafter, “the burden falls upon the plaintiff to come forward with sufficient

   facts to establish that jurisdiction is proper.” Carteret Sav. Bank, FA v. Shushan, 954 F.2d
   141, 146 (3d Cir. 1992). The plaintiff’s response cannot rely solely on the pleadings but
   must provide actual proof, through affidavits or other competent evidence, that
   jurisdiction is proper. Patterson by Patterson v. F.B.I., 893 F.2d 595, 603–04 (3d Cir. 1990).
   And “it is difficult for [a] Court to conclude that it has specific jurisdiction … when
   [Plaintiff’s] allegations are based upon information and belief,” Victory Int’l (USA) Inc.

   v. Perry Ellis Int'l, Inc., C.A. No. 07-0375, 2008 WL 65177, at *8 (D.N.J. Jan. 2, 2008), as
   are HomeSource’s jurisdictional allegations against Nationwide. D.E. 164 ¶ 16.
      Determining whether jurisdiction exists involves two inquiries: whether a forum
   state’s long-arm statute permits service of process and whether assertion of personal



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   jurisdiction violates due process. IMO Indus. v. Kiekert AG, 155 F.3d 254, 259 (3d Cir.
   1998). “In New Jersey, this inquiry is collapsed into a single step because the New Jersey

   long-arm statute permits the exercise of personal jurisdiction to the fullest limits of due
   process.” Id. at 259.
      Here, HomeSource recites one jurisdictional conclusion as to Nationwide:

          Upon information and belief, this court has personal jurisdiction over
          defendant Nationwide because Nationwide is engaged in the systematic
          and continuous conduct of business in the State of New Jersey, and
          Nationwide expressly aimed tortious conduct at HomeSource, a New
          Jersey corporation, such that defendant could reasonably anticipate being
          haled into district court in New Jersey due to its tortious conduct.
   (D.E. 164 ¶ 16) (emphasis added). Such a boilerplate allegation is insufficient to support
   personal jurisdiction over Nationwide under either general jurisdiction or specific
   jurisdiction grounds.

          B.     No operative allegations support general jurisdiction over
                 Nationwide.
      The Supreme Court has made clear that general jurisdiction over a corporate
   defendant exists typically only in the two places where the defendant is “at home”—
   the defendant’s state of incorporation and the location of its principal place of business.
   BNSF Ry. Co. v. Tyrrell, 137 S.Ct. 1549, 1552-53 (2017) (citing Daimler AG v. Bauman,
   134 S.Ct. 746, 760 (2014)); see also Goodyear Dunlop Tires Operations, SA v. Brown, 564 U.S.

   915, 919 (2011) (general jurisdiction applies when the defendant’s “affiliations with the
   State are so ‘continuous and systematic as to render them essentially at home in the
   forum state.’” (quoting Int’l Shoe Co. v. Washington, 326 U.S. 310, 317 (1945)). The Court

   cautioned that finding general jurisdiction based on a corporation’s affiliations with a
   forum state should be limited to exceptional cases, and that such affiliations should be


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   appraised in the context of the “corporation’s activities in their entirety, nationwide and
   worldwide.” See Daimler AG at 760-62, 761 n. 19, 762 n. 20.

      While HomeSource fails to specify whether it contends general jurisdiction exists, it
   recites in conclusory fashion that Nationwide “is engaged in the systematic and
   continuous conduct of business in the State of New Jersey.” D.E. 164 ¶ 16. But

   Nationwide is incorporated in and maintains its principal place of business in North
   Carolina. Id. ¶ 10. Nationwide is not registered to conduct business in New Jersey. (Ex.
   A ¶ 8.) It does not own or rent property, have employees, pay taxes, or have a service

   agent in New Jersey. (Id. ¶¶ 5, 8.) Thus, Nationwide is not “at home” in New Jersey and
   is not subject to general jurisdiction. HomeSource’s allegation to the contrary is
   conclusory, unfounded, and “on information and belief.” Victory Int’l, 2008 WL 65177,

   at * 5, 8. Thus, HomeSource cannot meet the “very high threshold of business activity”
   needed to establish general jurisdiction. See Vanz, LLC v. Mattia & Assocs., No. 2-13-
   CV-01392-SDW-SCM, 2016 WL 3148400 (D.N.J. May 17, 2016), report and

   recommendation adopted, No. 13-CV-1392-SDW-SCM, 2016 WL 3148386 (D.N.J. June 1,
   2016).

            C.   No allegation, nor any evidence, supports specific jurisdiction.
      Specific jurisdiction exists only when (1) the defendant has “purposefully directed”
   his activities at the forum; (2) the litigation arises out of or relates to those activities;

   and (3) the exercise of jurisdiction otherwise comports with fair play and substantial
   justice. O’Connor v. Sandy Lane Hotel Co., 496 F.3d 312, 317 (3d Cir. 2007) (internal
   citations omitted). The Supreme Court requires that, to establish that a defendant has
   sufficient “minimum contacts” with a forum to support specific jurisdiction, “there


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   must be an ‘affiliation between the forum and the underlying controversy, principally
   [an] activity or occurrence that takes place in the forum State.’” Bristol-Myers Squibb Co.

   v. Superior Court of California, San Francisco Cty., 137 S. Ct. 1773, 1781 (2017) (quoting
   Goodyear, 564 U.S. at 919, 131 S.Ct. 2846). In other words, for personal jurisdiction to
   attach, the non-resident defendant’s “suit-related conduct must create a substantial

   connection with the forum State.” Walden v. Fiore, 571 U.S. 277, 284 (2014) (emphasis
   added).
      It is HomeSource’s sole burden to come forward with evidence to establish that

   Nationwide “purposefully directed” activities toward New Jersey, and that this case
   arises out of those activities. Carteret Sav. Bank, 954 F.2d at 146; O’Connor, 496 F.3d at
   317. No such evidence exists, so HomeSource cannot meet its burden to show that this

   Court has specific jurisdiction over Nationwide for purposes of this litigation.
      The personal jurisdiction analysis in intentional torts cases is further governed by
   the “effects test.” See IMO Indus., 155 F.3d 259-60 (citing Calder v. Jones, 465 U.S. 783

   (1984)). The Third Circuit has interpreted the Calder effects test to require the plaintiff
   to show: (1) the defendant committed an intentional tort; (2) the plaintiff felt the brunt
   of the harm caused by that tort in the forum; and (3) the defendant expressly aimed his

   tortious conduct at the forum, such that the forum can be said to be the focal point of
   the tortious activity. IMO Indus., 155 F.3d at 256. The Calder test does not, however,
   “expand” the limits of specific jurisdiction. Marten v. Godwin, 499 F.3d 290, 297 (3d Cir.

   2007). The focus of the minimum contacts inquiry remains on “‘the relationship among
   the defendant, the forum, and the litigation.’” Walden, 571 U.S. at 291 (quoting Calder,



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   465 U.S. at 788). “And it is the defendant, not the plaintiff or third parties, who must
   create contacts with the forum State.” Id. (emphasis added).

      Here, HomeSource has no evidence to satisfy the Calder effects test; indeed, even its
   allegations fall short. HomeSource needed to “point to specific activity indicating that
   the defendant expressly aimed its tortious conduct at the forum.” Marten, 499 F.3d at

   297. But the activities leading to the newsletter occurred entirely outside of New Jersey
   and were not directed to New Jersey in any way. See Walden, 571 U.S. at 291 (finding no
   personal jurisdiction when the relevant conduct occurred outside the forum, even

   though it affected plaintiffs in the forum); Remick v. Manfredy, 238 F.3d 248, 259 (3d Cir.
   2001) (no jurisdiction over defamation claim, since there was “no indication that the
   [defendant’s conduct] was targeted at … anyone in [the forum] other than [the

   plaintiff]”). As HomeSource alleges, Nationwide sent emails from its office in North
   Carolina to RWS in Arizona and to Gridiron in Connecticut—not New Jersey. (Id. ¶¶
   28–30, 33.) And merely reviewing defamatory statements made by another, such as

   exchanging emails about the topic, is insufficient to confer personal jurisdiction. See 3
   Lab, Inc. v. Kim, No. CIV. 07-1056, 2007 WL 2177513, at *6 (D.N.J. July 26, 2007)
   (where plaintiff alleged that foreign party “caused and/or contributed to the production

   and/or airing of the false and defamatory statements[,] … without any allegation of
   activity by the Defendants in New Jersey [is not a] sufficient basis to support specific
   jurisdiction. Stated another way, Plaintiffs fail to plead that any of the claims asserted

   arise out of any contact by any of the Defendants with the state of New Jersey”). The
   Court thus has no basis to find specific jurisdiction over HomeSource’s alleged claims
   against Nationwide.

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      HomeSource’s alleged presence in New Jersey falls far short of satisfying the
   requirements of the Calder test. See IMO Indus., 155 F.3d at 266 (holding that knowledge

   that plaintiff is located in the forum is “insufficient” satisfy the effects test); Fantis
   Imports, Inc. v. Hellas Import, Ltd., No. 07-0544, 2008 WL 1790425, at *7 (D.N.J. Apr. 18,
   2008) (“Fantis fails to recognize the distinction between conduct directed at a

   corporation in New Jersey, and conduct directed at a corporation, which is fortuitously
   located in New Jersey.”). Nor is it sufficient that HomeSource allegedly suffered harm
   in New Jersey. Walden, 571 U.S. at 290 (“Calder made clear that mere injury to a forum

   resident is not a sufficient connection to the forum.”); see Victory Int’l, 2008 WL 65177,
   at *8 (“That [plaintiff] had suffered harm in New Jersey does not necessarily mean that
   [defendant] aimed his tortious conduct at New Jersey”); Esab Grp. in Stevens v. Welch,

   No. CIV.A. 10-3928 SDW, 2011 WL 541808, at *6 (D.N.J. Feb. 7, 2011) (holding that
   defendants’ awareness that their allegedly tortious conduct would damage plaintiff in
   New Jersey were insufficient). Instead, what is dispositive is whether New Jersey was

   the focal point of the asserted claims against Nationwide. See IMO Indus., 155 F.3d at
   265-66. HomeSource’s SAC only contends that, at most, Nationwide, Gridiron, and
   RWS allegedly targeted HomeSource, not New Jersey. (See e.g. D.E. 164 ¶ 27) (“Thereafter,

   Gridiron, Nationwide, and RWS all worked in concert to minimize HomeSource’s
   market share.”).
      Nor do HomeSource’s alleged contract and business negotiations with Nationwide

   establish minimum contacts, particularly since HomeSource does not allege where the
   negotiations occurred, what they entailed, or whether they relate to the torts at issue in
   this case. Compare (D.E. 164 ¶ 24) with Burger King Corp. v. Rudzewicz, 471 U.S. 462, 479-

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   80 (1985) (stating that a contract with an out-of-state party cannot alone automatically
   establish sufficient minimum contacts in the other party’s forum); Pinninti v. NRI Med.

   Coll. (NRIAS), No. CIV.A.09-5356MLC, 2010 WL 2483992, at *8 (D.N.J. June 4, 2010)
   (“Generally, the act of entering into a contract within a foreign jurisdiction, without
   more, cannot serve as a basis for asserting personal jurisdiction over a nonresident

   defendant.”). Thus, while HomeSource alleges that it communicated about a potential
   agreement with Nationwide in 2017 (D.E. 164 ¶¶ 22–24), these allegations cannot
   confer personal jurisdiction over Nationwide for the July 2018 newsletter, particularly

   as HomeSource alleges no details about the supposed negotiations, or whether they
   related to the torts directed at HomeSource in New Jersey. Nor did HomeSource assert
   breach of contract claims against Nationwide. (See D.E. 164 Counts VIII–X.)

      Finally, if HomeSource argues that Nationwide is subject to personal jurisdiction in
   New Jersey based on its “relationship” with RWS, this argument likewise fails. Under
   an agency or alter-ego theory of jurisdiction, “a court may impute the contacts of a

   subsidiary corporation to a foreign parent corporation for the purpose of exercising
   specific jurisdiction, if the subsidiary corporation is merely operating as the parent
   corporation’s alter ego, such that the ‘independence of the separate corporate entities

   [may be] disregarded.’” Linus Holding Corp. v. Mark Line Indus., LLC, 376 F. Supp. 3d
   417, 423 (D.N.J. 2019) (quoting Fisher v. Teva PFC SRL, 212 Fed. App’x. 72, 76 (3d Cir.
   2006) (stating that this imputation occurs “only if” the subsidiary is an agent or alter

   ego)). As a threshold, HomeSource alleges no facts establishing that RWS was the alter
   ego of Nationwide. Nevertheless, RWS’s and Nationwide’s relationship is more distant
   than in the typical agency/alter ego scenario because they are corporate siblings. Ex. A

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   ¶ 12. As a result, Nationwide’s “relationship” with RWS is insufficient to confer
   jurisdiction.

      For these reasons, HomeSource cannot satisfy the Calder effects test to establish
   specific jurisdiction and its claims against Nationwide should be dismissed under Rule
   12(b)(2).

          D.       Exercising personal jurisdiction over Nationwide would not
                   comport with traditional notions of fair play and substantial
                   justice.
      Even if the Court found HomeSource met its burden of proving the elements above,
   the Court must then analyze whether the exercise of personal jurisdiction is reasonable.
   World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 292 (1980). The exercise of

   jurisdiction is reasonable if it does not offend “traditional notions of fair play and
   substantial justice.” Int’l Shoe, 326 U.S. at 316; see Burger King, 471 U.S. at 477. Courts
   look to five factors here: (1) the burden on the defendants; (2) the forum state’s interest

   in adjudicating the dispute; (3) plaintiff's interest in obtaining convenient and effective
   relief; (4) the interstate judicial system’s interest in efficient resolution of controversies;
   and (5) the shared interest of the several states in furthering fundamental substantive
   social policies. Burger King, 471 U.S. at 477; Woodson, 444 U.S. at 292.
      Here, general and specific jurisdiction are lacking, so the Court need not consider
   the due process analysis. Waste Mgmt. v. Admiral Ins. Co., 138 N.J. 106, 121 (1994)

   (“However, a court may not weigh those other factors until it has found that the
   defendant has experienced sufficient minimum contacts to satisfy the threshold
   determination.”) But if it did, the balance of factors favors dismissal. The burden on
   Nationwide to litigate here would be great because Nationwide is based in North


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   Carolina and Nationwide’s records, as well as the relevant corporate employees, are
   located far from New Jersey. Ex. A ¶ 11. It is unduly prejudicial to force Nationwide to

   litigate far from home in a forum of which it did not avail itself. Sonic Supply, LLC v.
   Universal White Cement Co., No. 07-CV-04529, 2008 WL 2938051, at *3 (D.N.J. July 29,
   2008). HomeSource could have filed suit against Nationwide in Nationwide’s home

   state of North Carolina; indeed, HomeSource has previously taken advantage of that
   ability by subpoenaing Nationwide in this case in 2018 and litigating a motion to quash
   in the U.S. District Court for the Middle District of North Carolina, Case No. 1:19-mc-

   00006. None of the remaining factors favor the exercise of personal jurisdiction.
      Because Nationwide lacks minimum contacts with New Jersey and the remaining
   considerations weigh against personal jurisdiction, it would offend notions of fair play

   and substantial justice to subject Nationwide to personal jurisdiction in New Jersey.

          HomeSource’s allegations against Nationwide fail to state a claim and
          should be dismissed under Rule 12(b)(6).
          A.     Legal standard.
      “[O]nly a complaint that states a plausible claim for relief survives a motion to
   dismiss.” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009). A complaint must contain more
   than “unadorned, the-defendant-unlawfully-harmed-me accusation[s],” or “labels and
   conclusions.” Id. at 678 (citations and quotations omitted). Rather, a plaintiff must allege
   “sufficient factual matter” that, taken as true, allows the court “to draw the reasonable

   inference that the defendant is liable for the misconduct alleged.” Id. A court is “not
   compelled to accept ‘unsupported conclusions and unwarranted inferences,’” or “a legal




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   conclusion couched as a factual allegation.” Baraka v. McGreevey, 481 F.3d 187, 195 (3d
   Cir. 2007) (quotation omitted).

         B.     Each of HomeSource’s derivative claims against Nationwide fails
                to state a claim because HomeSource failed to plead an underlying
                tort against RWS.
      HomeSource alleges three causes of action against Nationwide: (1) civil conspiracy
   (Count VIII); (2) contributory liability for false and misleading advertising under the
   Lanham Act, 15 U.S.C. § 1125(a) (Count IX); and (3) vicarious liability (Count X). These

   claims stem wholly from its alleged Lanham Act false advertising, defamation, tortious
   interference, and common law and federal unfair competition claims against RWS. As
   discussed in RWS’s Motion, each of these predicate theories fails to state a cognizable

   claim for relief and should be dismissed under Rule 12(b)(6). And absent an underlying
   tort, Nationwide cannot be contributory or vicariously liable for RWS’s actions, nor can
   be liable as a conspirator. In the interests of brevity and judicial efficiency, Nationwide

   incorporates the arguments set forth in RWS’s Motion, as if fully re-written here. As
   argued in that Motion, Counts VIII, IX, and X asserted directly against Nationwide fail
   to state a claim; as do Counts I–V which are asserted against Nationwide indirectly.
   Because HomeSource failed to state a claim against RWS, Nationwide should likewise
   be dismissed from this case.
      HomeSource does not allege sufficient operative facts to support its conspiracy

   claim. New Jersey’s civil conspiracy requires “(1) a combination of two or more persons;
   (2) a real agreement or confederation with a common design; (3) the existence of an
   unlawful purpose, or of a lawful purpose to be achieved by unlawful means; and (4)
   proof of special damages.” Morganroth & Morganroth v. Norris, McLaughlin & Marcus, P.C.,


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   331 F.3d 406, 414 (3d Cir. 2003). But “conclusory and unsupported allegations of a
   conspiracy are insufficient to state a claim.” Tennile v. Quintana, 443 F. App’x 670, 674

   (3d Cir. 2011). HomeSource recites the conclusions that the parties “conspired by
   concerted action to commit the following torts and causes of action.” D.E. 164 ¶ 148.
   But no operative factual allegation plausibly supports the idea that the three entities

   agreed to take unlawful actions against HomeSource. Only such an agreement, plausibly
   alleged, would support a conspiracy claim. Morganroth & Morganroth, 331 F.3d at 414.
   HomeSource failed to meet that standard.

          C.     HomeSource’s contributory liability for false and misleading
                 advertising claim (Count IX) should be dismissed for failure to
                 state a claim.
      HomeSource’s allegations for contributory liability for false and misleading
   advertising under the Lanham Act, 15 U.S.C. § 1125(a) failed to state a claim for two
   reasons: (1) contributory false advertising claims are not recognized as a matter of law; and

   (2) HomeSource failed to plead a Lanham Act violation.

                 1.     Contributory liability for false or misleading advertising is not
                        a cognizable claim for relief.
      HomeSource’s contributory liability claim fails for the threshold reason that such
   claims do not exist. In Lexmark Int'l, Inc. v. Static Control Components, Inc., 572 U.S. 118
   (2014), the Supreme Court addressed the limits of who may sue for false advertising
   under the Lanham Act, holding that a cause of action is “limited to plaintiffs whose

   injuries are proximately caused by violations of the statute.” 572 U.S. at 132. The
   Court’s formulation of proximate cause requires a plaintiff to plead and prove
   “economic or reputational injury flowing directly from the deception wrought by



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   [defendant’s] advertising.” Id. at 133. Following Lexmark, federal courts routinely reject
   contributory false advertising claims on the basis that they are “inconsistent with

   Lexmark’s proximate cause formulation.” Telebrands Corp. v. My Pillow, Inc., No. 18-CV-
   06318, 2019 WL 1923410, at *3 (N.D. Ill. Apr. 30, 2019) (observing that a contributory
   false advertising theory “has not been adopted by either the Seventh Circuit or any

   other circuit.”); see Acad. of Doctors of Audiology v. Int'l Hearing Soc'y, 237 F. Supp. 3d 644,
   666 (E.D. Mich. 2017) (explaining that the Sixth Circuit has not recognized a claim for
   contributory false advertising under the Lanham Act). This Court has similarly rejected

   a contributory liability theory on the basis that the defendant knew of or assisted in a
   co-defendant’s false advertising. G&W Labs., Inc. v. Laser Pharm., LLC, No. 3:17-CV-
   3974, 2018 WL 3031943, at *19 (D.N.J. June 19, 2018). Here, the contributory liability

   allegations are similarly deficient because they are based on mere knowledge or assistance of
   an alleged false advertising under the Lanham Act, 18 U.S.C. § 1125(a), and not direct
   advertising. Thus, HomeSource’s contributory false advertising claim (Count IX)

   should be dismissed.

                 2.      HomeSource did not plead a predicate Lanham Act violation.
      Even if this court recognized such a claim, HomeSource failed to sufficiently plead
   a Lanham Act claim, as discussed more fully in RWS’s Motion. And HomeSource failed
   to sufficiently allege that Nationwide had the necessary state of mind to be liable for

   false advertising. Even in the Eleventh Circuit, the only circuit where such a legal theory
   is recognized, would require HomeSource to plead facts plausibly showing that
   Nationwide “intended to participate in” or “actually knew about” the false advertising,
   and that Nationwide “actively and materially furthered the unlawful conduct—either by


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   inducing it, causing it, or in some other way working to bring it about.” Duty Free
   Americas, Inc. v. Estee Lauder Companies, Inc., 797 F.3d 1248, 1277 (11th Cir. 2015).

       HomeSource’s allegations that Nationwide “induced” and “signed off on” the
   newsletters are conclusory and insufficient to show that Nationwide intentionally
   furthered unlawful conduct, particularly since HomeSource’s factual allegations claim

   only that Nationwide exchanged emails regarding the “wording” of the newsletters.
   (D.E. 164 ¶ 153.) Moreover, HomeSource’s operative allegation is that Nationwide
   exchanged emails on the wording of the newsletters, not that it advanced statements

   for RWS to communicate while knowing those statements were false. (Id. ¶ 30.) And
   while HomeSource claimed that Nationwide knew the newsletters would “misrepresent
   the nature, characteristics, and qualities of HomeSource’s goods and services” and that

   Nationwide knew they contained “false and misleading representations” [id. ¶¶ 154,
   156], these allegations are conclusory references to the elements of a claim and should
   be disregarded, Iqbal, 556 U.S. at 679 (“Threadbare recitals of the elements of a case of

   action, supported by mere conclusory statements, do not suffice.”). Without facts that
   Nationwide intended to participate in or knew about the alleged false advertising,
   HomeSource cannot state a contributory false advertising claim.

          D.     Each of HomeSource’s vicarious liability claims should be
                 dismissed for failure to state a claim.
       HomeSource’s theorizes that Nationwide is vicariously liable for RWS’s activities,
   but fails to plead facts sufficient to hold Nationwide liable.8 It is well-settled that “mere

   8
     Again, Nationwide is not RWS’s parent; rather, both Nationwide and RWS are
   subsidiaries of Local Retail Solutions, LLC. Even so, HomeSource’s allegations are
   insufficient even if Nationwide were RWS’s parent.

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   ownership of a subsidiary does not justify the imposition of liability on the parent.”
   Pearson v. Component Tech. Corp., 247 F.3d 471, 484 (3d Cir. 2001). Instead, HomeSource

   must prove that RWS was Nationwide’s agent, or prove facts sufficient to pierce the
   corporate veil. See Ramirez v. STi Prepaid LLC, 644 F. Supp. 2d 496, 508 (D.N.J. 2009).
   HomeSource does not allege facts to satisfy either requirement.

                1.     No allegation establishes agency.
      HomeSource does not allege sufficient facts to plausibly establish that RWS acted

   as Nationwide’s agent. Under an agency theory, “the issue of liability rests on the
   amount of control the parent corporation exercises over the actions of the subsidiary.
   The parent corporation will be held liable for the activities of the subsidiary only if the

   parent dominates those activities.” Ramirez, 644 F. Supp. 2d at 508. On this question,
   courts look at “whether the subsidiary was grossly undercapitalized, the day-to-day
   involvement of the parent’s directors, officers and personnel, and whether the

   subsidiary fails to observe corporate formalities, pays no dividends, is insolvent, lacks
   corporate records, or is merely a facade.” Canter v. Lakewood of Voorhees, 420 N.J. Super.
   508, 519 (App. Div. 2011) (internal quotes omitted). In Wrist Worldwide Trading GMBH
   v. MV Auto Banner, for example, the court dismissed agency claims when the plaintiff
   failed to assert facts showing the parent company exercised “control or dominion” over
   its subsidiary. No. CIV.A. 10-2326, 2011 WL 5414307, at *6 (D.N.J. Nov. 4, 2011).

   Similarly, in Slack v. Suburban Propane Partners, L.P., No. 10-2548, 2010 WL 5392845, at
   *14 (D.N.J. Dec. 22, 2010), the court held that the plaintiff failed to plead agency when
   it relied on a “conclusory allegation” that a parent company “approved, authorized,
   enabled and/or ratified” its subsidiary’s purportedly illegal conduct.


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      Here, HomeSource’s vicarious liability allegations are conclusory and fail to meet
   Rule 8(a)(2)’s plausibility standard. No allegations establish Nationwide’s exercise of

   control over RWS; HomeSource does not allege Nationwide owned RWS, that it
   controlled RWS’s operations, or that RWS acted on Nationwide’s behalf. Nor does
   HomeSource allege that Nationwide or RWS were grossly undercapitalized; failed to

   observe corporate formalities, paid no dividends, were insolvent, lacked corporate
   records, or were merely facades. See Canter v. Lakewood of Voorhees, 420 N.J. Super. At
   519. Instead, HomeSource recites formulaically that Nationwide “exercised control

   over RWS,” “directed it” to send the newsletter, and that Nationwide had apparent or
   actual authority to control RWS due to “the ownership interests within their corporate
   family.” D.E. 164 ¶¶ 164, 165. Such conclusory allegations cannot establish agency.

                 2.     HomeSource’s vicarious liability claim fails because it failed
                        to plead facts supporting a piercing of the corporate veil.
      HomeSource failed to state a vicarious liability claim because it did not allege facts
   supporting veil-piercing. To “pierce the corporate veil” and hold a shareholder
   personally liable for a corporation's liabilities, two conditions must be met: first, “there
   must be such unity of interest and ownership that the separate personalities of the
   corporation and the individual no longer exist,” and second, “adherence to the fiction

   of separate corporate existence would sanction a fraud or promote injustice.” State
   Capital Title & *180 Abstract Co. v. Pappas Bus. Servs., 646 F.Supp.2d 668, 679 (D.N.J.
   2009) (internal quotation marks omitted). In other words, the corporation must be the

   “alter ego” of the shareholder, such that the corporate form is effectively a legal fiction,
   and enforcing that legal fiction must result in some fundamental unfairness. Verni ex rel.



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   Burstein v. Harry M. Stevens, Inc., 387 N.J. Super. 160, 199 (App. Div. 2006). The party
   seeking to pierce the veil bears the weighty burden of proving that those circumstances

   are present. Richard A. Pulaski Const. Co. v. Air Frame Hangars, Inc., 195 N.J. 457, 472–73
   (2008); see also N. Am. Steel Connection, Inc. v. Watson Metal Prod. Corp., 515 F. App’x 176,
   180 (3d Cir. 2013).

       The Third Circuit’s alter ego test analyzes the following: gross undercapitalization,
   failure to observe corporate formalities, nonpayment of dividends, insolvency of the
   debtor corporation, siphoning of funds from the debtor corporation by the dominant

   stockholder, nonfunctioning of officers and directors, absence of corporate records,
   and whether the corporation is merely a facade for the operations of the dominant
   stockholder. Pearson v. Component Tech. Corp., 247 F.3d 471, 484–85 (3d Cir. 2001).

       HomeSource alleges none of the factors required to pierce the corporate veil under
   the Third Circuit’s test.9 Nowhere does HomeSource allege that Nationwide or RWS
   was undercapitalized, funds were siphoned from one company to the other, directors

   or officers were nonfunctioning, corporate records were missing, or that one company
   was a facade for the other. While HomeSource alleges that Nationwide “exercised
   control over RWS” and had “actual or apparent authority” over it (D.E. 164 ¶¶ 164-

   165.), these conclusory allegations cannot satisfy any of the elements of the Third
   Circuit’s alter ego test, even if Nationwide were RWS’s parent. As a result,
   HomeSource’s vicarious liability claim fails for this independent reason.

   9
     Again, the connection between Nationwide and RWS is further removed than the
   typical parent-subsidiary veil-piercing scenario because they are sister companies.
   HomeSource’s alleged veil-piercing is unfounded for the threshold reason that neither
   Nationwide nor RWS has an ownership stake in the other.

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                                     CONCLUSION
      For all these reasons, Nationwide respectfully requests that the Court grant its
   motion to dismiss Plaintiff The HomeSource, Corp.’s Second Amended Complaint for
   lack of personal jurisdiction. Additionally, as each of HomeSource’s substantive

   allegations fails to state a claim upon which relief can be granted, all claims against
   Nationwide should be dismissed under Rule 12(b)(6).

    Dated: June 15, 2020                     Respectfully submitted,

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                               CERTIFICATE OF SERVICE

   I hereby certify that on June 15, 2020, a true and correct copy of the foregoing was
   served via the Court’s electronic filing system upon the following counsel for the
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